            Case 23-10545                Doc 54         Filed 05/17/23 Entered 05/17/23 12:44:30                            Desc Main
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Fill in this information to identify the case:

Debtor name         Sale, LLC

United States Bankruptcy Court for the:     DISTRICT OF MASSACHUSETTS

Case number (if known)    23-10545
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
              Schedule H: Codebtors (Official Form 206H)
              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule      A/B, D, E/F, G, H
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       May 17, 2023                    X /s/ Abderrahim Hmina
                                                           Signature of individual signing on behalf of debtor

                                                            Abderrahim Hmina
                                                            Printed name

                                                            President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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Fill in this information to identify the case:
Debtor name Sale, LLC
United States Bankruptcy Court for the: DISTRICT OF MASSACHUSETTS                                                                       Check if this is an
Case number (if known):        23-10545                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Apex Funding                                                                                               $73,762.00                        $0.00              $73,762.00
Source ,LLC
3050 Biscayne blvd,
suite 503
Miami, FL 33137
Breakfast Club, LLC                                 Capital loan                                                                                              $100,000.00
77 Sadler Farm Lane
Boxborough, MA
01719
Capital Assist                                                                                             $20,995.00                        $0.00              $20,995.00
244 5th Avenue,
Suite P297
New York, NY 10001
Eversource                                          Utilities                                                                                                   $21,654.00
P.O. Box 56007
Boston, MA 02205
Forward Financing,                                                                                        $205,537.00                        $0.00            $205,537.00
LLC
53 State Street, 20th
Floor
Boston, MA 02109
Fundkite                                            Merchant Cash                                          $95,134.00                        $0.00              $95,134.00
88 Pine Street                                      Advance
17th Floor
New York, NY 10005
Fundonatic                                          Cash and                                               $20,264.00                        $0.00              $20,264.00
20200 W. Dixie                                      receivables
Highway, Suite 908
Miami, FL 33180
H&N                                                 Capital Loan                                                                                              $100,000.00
c/o Heather McKay
100 Great Plain
Avenue
Needham, MA 02492




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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Debtor     Sale, LLC                                                                                Case number (if known)         23-10545
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Leo Gray                                            Capital Loan                                                                                              $100,000.00
77 Sadler Farm
Road
Boxborough, MA
01719
Massachusetts Dept                                  All property of the                                   $300,203.00                        $0.00            $300,203.00
of Revenue                                          debtor
Bankruptcy Unit
P.O. Box 7090
Boston, MA 02204
Mutasmin Hassan                                     Capital Loan                                                                                              $300,000.00
Elganzoory
Addrress unknown
Nasim Anwar                                         Capital loans                                                                                             $200,000.00
Address Unknown
National Grid                                        Utilities                                                                                                  $35,910.00
P.O. box 960
Northborough, MA
01532
Por-Shun, Inc.                                      product sold                                                                                                $16,000.00
16 Upon Drive
MA 01877
Revenued                                            Business credit                                                                                             $16,000.00
525 Washington                                      card
Dlvd, Suite 2200
Jersey City, NJ
07310
Saleh Sinjab                                        Capital loan              Disputed                                                                        $217,000.00
1 Arboretum Way,
Apt 313
Canton, MA 02021
Swift Funding                                       Merchant Cash                                          $53,264.80                        $0.00              $53,264.80
Source, Inc.                                        Advance
2474 McDonald
Avenue
Brooklyn, NY 11223
U.S. Foods                                                                                                 $53,000.00                        $0.00              $53,000.00
100 Ledge Road
Seabrook, NH 03874
Uptown Fund, LLC                                    Merchant Cash             Disputed                     $51,705.14                        $0.00              $51,705.14
211 Boulevard of the info@uptownfund.               Advance
Americas             com
Lakewood, NJ 08701
Yui-Tin                                             Capital loan                                                                                              $100,000.00
15 Johnson Road
Carlisle, MA 01741




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
                 Case 23-10545                             Doc 54                Filed 05/17/23 Entered 05/17/23 12:44:30                                                           Desc Main
                                                                                  Document     Page 4 of 36
 Fill in this information to identify the case:

 Debtor name            Sale, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF MASSACHUSETTS

 Case number (if known)               23-10545
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                  0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $         174,969.12

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $         174,969.12


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $         873,864.94


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $                  0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$       1,242,672.17


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $          2,116,537.11




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
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Fill in this information to identify the case:

Debtor name        Sale, LLC

United States Bankruptcy Court for the:      DISTRICT OF MASSACHUSETTS

Case number (if known)      23-10545
                                                                                                                      Check if this is an
                                                                                                                            amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                            12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      No. Go to Part 2.
      Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                         Current value of
                                                                                                                            debtor's interest

3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                  Last 4 digits of account
                                                                                                 number


           3.1.   Brookline Bank                                   Checking                      0490                                        $722.30




           3.2.   Brookline Bank                                   Checking                      0466                                   $1,126.43




           3.3.   Brookline Bank                                   Checking                      0482                                        $410.00




           3.4.   Brookline Bank                                   Checking                      0474                                        $210.39




           3.5.   Bank of America (4229)                           Checking                      4229                                           $0.00




           3.6.   Bank of America                                  Checking                      6920                                           $0.00



4.         Other cash equivalents (Identify all)

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                           page 1
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Debtor            Sale, LLC                                                                Case number (If known) 23-10545
                  Name


5.         Total of Part 1.                                                                                                           $2,469.12
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.
7.         Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Commercial rent security deposit given to KVA Nagog, LLC                                                             $7,500.00



8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


9.         Total of Part 2.                                                                                                           $7,500.00
           Add lines 7 through 8. Copy the total to line 81.

Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

Part 4:           Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.

Part 5:           Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.
           General description                Date of the last           Net book value of          Valuation method used     Current value of
                                              physical inventory         debtor's interest          for current value         debtor's interest
                                                                         (Where available)

19.        Raw materials

20.        Work in progress

21.        Finished goods, including goods held for resale

22.        Other inventory or supplies
           Perishable and
           non-perishable food
           items, beverages and
           food packaging
           materials, paper goods.                                                       $0.00      Liquidation                         $10,000.00




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                         page 2
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Debtor       Sale, LLC                                                                 Case number (If known) 23-10545
             Name

          Kitchen equipment,
          tables, chairs, restaurant
          supplies, pots, pans,
          utensils, POS system.                                                      $0.00                                         $75,000.00




23.       Total of Part 5.                                                                                                     $85,000.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
           No
           Yes
25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
           No
           Yes. Book value                              Valuation method                            Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
           No
           Yes
Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    No. Go to Part 7.
    Yes Fill in the information below.

Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    No. Go to Part 8.
    Yes Fill in the information below.

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    No. Go to Part 9.
    Yes Fill in the information below.
          General description                                        Net book value of         Valuation method used     Current value of
          Include year, make, model, and identification numbers      debtor's interest         for current value         debtor's interest
          (i.e., VIN, HIN, or N-number)                              (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.   2017 Ford 250 Transit Van 120,0000                                 $0.00     Liquidation                         $16,000.00


          47.2.   2017 Toyota Rav 4, 45,000 miles                                    $0.00     Liquidation                         $19,000.00



48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                      page 3
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Debtor        Sale, LLC                                                                    Case number (If known) 23-10545
              Name



51.        Total of Part 8.                                                                                                        $35,000.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
            No
            Yes
53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
            No
            Yes
Part 9:       Real property
54. Does the debtor own or lease any real property?

    No. Go to Part 10.
    Yes Fill in the information below.

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    No. Go to Part 11.
    Yes Fill in the information below.

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    No. Go to Part 12.
    Yes Fill in the information below.
                                                                                                                             Current value of
                                                                                                                             debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities

74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)

75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

76.        Trusts, equitable or future interests in property

77.        Other property of any kind not already listed Examples: Season tickets,
           country club membership

           Credit card receipts held pursuant to levy                                                                                  $45,000.00



           Signage                                                                                                                      Unknown



Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                         page 4
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Debtor      Sale, LLC                                                               Case number (If known) 23-10545
            Name



78.      Total of Part 11.                                                                                             $45,000.00
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
          No
          Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                          page 5
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Debtor          Sale, LLC                                                                                           Case number (If known) 23-10545
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                              $2,469.12

81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $7,500.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                               $85,000.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $35,000.00

88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                  $45,000.00

91. Total. Add lines 80 through 90 for each column                                                            $174,969.12           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $174,969.12




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                      page 6
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Fill in this information to identify the case:

Debtor name          Sale, LLC

United States Bankruptcy Court for the:            DISTRICT OF MASSACHUSETTS

Case number (if known)              23-10545
                                                                                                                                      Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1    Apex Funding Source ,LLC                     Describe debtor's property that is subject to a lien                  $73,762.00                        $0.00
       Creditor's Name
       3050 Biscayne blvd, suite
       503
       Miami, FL 33137
       Creditor's mailing address                   Describe the lien
                                                    UCC-1
                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
       1/10/23                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
        No                                          Contingent
        Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative      Disputed
       priority.



2.2    Capital Assist                               Describe debtor's property that is subject to a lien                  $20,995.00                        $0.00
       Creditor's Name

       244 5th Avenue, Suite P297
       New York, NY 10001
       Creditor's mailing address                   Describe the lien

                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
       2/7/23                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply



Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of 6
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Debtor      Sale, LLC                                                                              Case number (if known)      23-10545
            Name

       No                                          Contingent
       Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative      Disputed
      priority.



2.3   Ford Motor Credit                            Describe debtor's property that is subject to a lien                           $0.00    $16,000.00
      Creditor's Name                              2017 Ford 250 Transit Van 120,0000
      Omaha Service Center
      P.O. Box 542000
      Omaha, NE 68154
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                    No
      Creditor's email address, if known            Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                        No
                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
       No                                          Contingent
       Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative      Disputed
      priority.



2.4   Forward Financing, LLC                       Describe debtor's property that is subject to a lien                     $205,537.00          $0.00
      Creditor's Name

      53 State Street, 20th Floor
      Boston, MA 02109
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                    No
      Creditor's email address, if known            Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                        No
      12/12/2022                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
       No                                          Contingent
       Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative      Disputed
      priority.



2.5   Fundkite                                     Describe debtor's property that is subject to a lien                      $95,134.00          $0.00
      Creditor's Name                              Merchant Cash Advance
      88 Pine Street
      17th Floor
      New York, NY 10005
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                    No

Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 2 of 6
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Debtor      Sale, LLC                                                                              Case number (if known)      23-10545
            Name

      Creditor's email address, if known            Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                        No
      12/21/22                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
       No                                          Contingent
       Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative      Disputed
      priority.



2.6   Fundonatic                                   Describe debtor's property that is subject to a lien                      $20,264.00          $0.00
      Creditor's Name                              Cash and receivables
      20200 W. Dixie Highway,
      Suite 908
      Miami, FL 33180
      Creditor's mailing address                   Describe the lien
                                                   UCC-1
                                                   Is the creditor an insider or related party?
                                                    No
      Creditor's email address, if known            Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                        No
      2/15/2023                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
       No                                          Contingent
       Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative      Disputed
      priority.



      Massachusetts Dept of
2.7                                                                                                                         $300,203.00          $0.00
      Revenue                                      Describe debtor's property that is subject to a lien
      Creditor's Name                              All property of the debtor
      Bankruptcy Unit
      P.O. Box 7090
      Boston, MA 02204
      Creditor's mailing address                   Describe the lien
                                                   Massachusetts Tax Lien
                                                   Is the creditor an insider or related party?
                                                    No
      Creditor's email address, if known            Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                        No
      2/2020-9/2022                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
       No                                          Contingent
       Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative      Disputed
      priority.




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 3 of 6
              Case 23-10545                      Doc 54        Filed 05/17/23 Entered 05/17/23 12:44:30                             Desc Main
                                                               Document      Page 14 of 36
Debtor      Sale, LLC                                                                              Case number (if known)     23-10545
            Name

2.8   Swift Funding Source, Inc.                   Describe debtor's property that is subject to a lien                     $53,264.80          $0.00
      Creditor's Name                              Merchant Cash Advance
      2474 McDonald Avenue
      Brooklyn, NY 11223
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                    No
      Creditor's email address, if known            Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                        No
      1/30/23                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
       No                                          Contingent
       Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative      Disputed
      priority.



2.9   Toyota Financial Services                    Describe debtor's property that is subject to a lien                          $0.00    $19,000.00
      Creditor's Name                              2017 Toyota Rav 4, 45,000 miles
      P.O. Box 5855
      Carol Stream, IL 60197
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                    No
      Creditor's email address, if known            Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                        No
                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
       No                                          Contingent
       Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative      Disputed
      priority.



2.1
0     U.S. Foods                                   Describe debtor's property that is subject to a lien                     $53,000.00          $0.00
      Creditor's Name

      100 Ledge Road
      Seabrook, NH 03874
      Creditor's mailing address                   Describe the lien
                                                   UCC1
                                                   Is the creditor an insider or related party?
                                                    No
      Creditor's email address, if known            Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                        No
                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number



Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 4 of 6
               Case 23-10545                      Doc 54        Filed 05/17/23 Entered 05/17/23 12:44:30                               Desc Main
                                                                Document      Page 15 of 36
Debtor       Sale, LLC                                                                              Case number (if known)      23-10545
             Name

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
        No                                          Contingent
        Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative      Disputed
       priority.



2.1
1      Uptown Fund, LLC                             Describe debtor's property that is subject to a lien                      $51,705.14                   $0.00
       Creditor's Name                              Merchant Cash Advance
       211 Boulevard of the
       Americas
       Lakewood, NJ 08701
       Creditor's mailing address                   Describe the lien

                                                    Is the creditor an insider or related party?
       info@uptownfund.com                           No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
       2/28/2023                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
        No                                          Contingent
        Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative
       priority.
                                                     Disputed


3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.             $873,864.94

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                     On which line in Part 1 did        Last 4 digits of
                                                                                                             you enter the related creditor?    account number for
                                                                                                                                                this entity
        Capital Asisst, LLC
        243 Tesser Blvd 17th Floor                                                                           Line   2.2
        Stamford, CT 06901

        Capital Assist, LLC
        343 Sunny Idles Blvd.,Suite 503                                                                      Line   2.2
        Miami Beach, FL 33154

        Issac H. Greenfield, Esq.
        2 Executive Blvd, Suite 305                                                                          Line   2.2
        Suffern, NY 10901

        Jacob Verstanding, esq.
        Erhowsky Verstanding PLLC                                                                            Line   2.8
        290 Central Avenue, Suite 109
        Lawrence, NY 11559

        Oleg Mestechkin, Esq.
        Mestechkin Law Group, P.C.                                                                           Line   2.5
        1733 Sheepshead Bary Road, Suite 29
        Brooklyn, NY 11235

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 5 of 6
            Case 23-10545       Doc 54       Filed 05/17/23 Entered 05/17/23 12:44:30                     Desc Main
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Debtor    Sale, LLC                                                        Case number (if known)   23-10545
          Name

      Yehuda Klien, Esq
      The Klien Law Firm, LLC                                                      Line   2.1
      P.o box 714
      Lakewood, NJ 08701




Official Form 206D      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                  page 6 of 6
               Case 23-10545                 Doc 54           Filed 05/17/23 Entered 05/17/23 12:44:30                                              Desc Main
                                                              Document      Page 17 of 36
Fill in this information to identify the case:

Debtor name        Sale, LLC

United States Bankruptcy Court for the:         DISTRICT OF MASSACHUSETTS

Case number (if known)          23-10545
                                                                                                                                                    Check if this is an
                                                                                                                                                       amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                       12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.
      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                        Total claim           Priority amount

2.1       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       Unknown       $0.00
          Internal Revenue Service                             Check all that apply.
          P.O. Box 7346                                         Contingent
          Philadelphia, PA 19101                                Unliquidated
                                                                Disputed
          Date or dates debt was incurred                      Basis for the claim:


          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                Yes


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $5,163.00
          Arrow Paper                                                         Contingent
          228 Andover Street                                                  Unliquidated
          Wilmington, MA 01887                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Paper goods sold
          Last 4 digits of account number 6523
                                                                             Is the claim subject to offset?      No  Yes
3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   Unknown
          Bank of America                                                     Contingent
          100 North Tryon Street                                              Unliquidated
          Charlotte, NC 28255                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: overdrawn business checking account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No  Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                             page 1 of 4
                                                                                                               56296
              Case 23-10545                Doc 54          Filed 05/17/23 Entered 05/17/23 12:44:30                                      Desc Main
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Debtor      Sale, LLC                                                                       Case number (if known)            23-10545
            Name

3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $100,000.00
         Breakfast Club, LLC                                        Contingent
         77 Sadler Farm Lane                                        Unliquidated
         Boxborough, MA 01719                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Capital loan
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $9,020.00
         CJF Excavation                                             Contingent
         9 Goldsmith Street                                         Unliquidated
         Littleton, MA 01460                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Excavation srevices
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $21,654.00
         Eversource                                                 Contingent
         P.O. Box 56007                                             Unliquidated
         Boston, MA 02205                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utilities
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $7,561.00
         George's Bakery                                            Contingent
         25 Hall Street                                             Unliquidated
         Boston, MA 02115                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Products supplied
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $100,000.00
         H&N                                                        Contingent
         c/o Heather McKay                                          Unliquidated
         100 Great Plain Avenue                                     Disputed
         Needham, MA 02492
                                                                   Basis for the claim: Capital Loan
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,510.00
         Interstate Food Equipment                                  Contingent
         Cohn & Dussi, LLC                                          Unliquidated
         68 Harrison Avenue, Suite 502                              Disputed
         Boston, MA 02111
                                                                   Basis for the claim: Materials supplied
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $100,000.00
         Leo Gray                                                   Contingent
         77 Sadler Farm Road                                        Unliquidated
         Boxborough, MA 01719                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Capital Loan
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 2 of 4
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Debtor      Sale, LLC                                                                       Case number (if known)            23-10545
            Name

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $300,000.00
         Mutasmin Hassan Elganzoory                                 Contingent
         Addrress unknown                                           Unliquidated
         Date(s) debt was incurred                                  Disputed
         Last 4 digits of account number                           Basis for the claim: Capital Loan

                                                                   Is the claim subject to offset?    No  Yes
3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $200,000.00
         Nasim Anwar                                                Contingent
         Address Unknown                                            Unliquidated
         Date(s) debt was incurred                                  Disputed
         Last 4 digits of account number                           Basis for the claim: Capital loans

                                                                   Is the claim subject to offset?    No  Yes
3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $35,910.00
         National Grid                                              Contingent
         P.O. box 960                                               Unliquidated
         Northborough, MA 01532                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Utilities
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $4,294.17
         New England Air, Inc.                                      Contingent
         56 Leonard Street                                          Unliquidated
         Foxboro, MA 02035                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: HVAC service
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $8,560.00
         New England Coffewe                                        Contingent
         100 Charles Street                                         Unliquidated
         Malden, MA 02148                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Goods sold
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $16,000.00
         Por-Shun, Inc.                                             Contingent
         16 Upon Drive                                              Unliquidated
          MA 01877                                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: product sold
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $16,000.00
         Revenued                                                   Contingent
         525 Washington Dlvd, Suite 2200                            Unliquidated
         Jersey City, NJ 07310                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Business credit card
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 3 of 4
              Case 23-10545                  Doc 54          Filed 05/17/23 Entered 05/17/23 12:44:30                                             Desc Main
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Debtor       Sale, LLC                                                                              Case number (if known)            23-10545
             Name

3.17      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $217,000.00
          Saleh Sinjab                                                      Contingent
          1 Arboretum Way, Apt 313                                          Unliquidated
          Canton, MA 02021                                                  Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Capital loan
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No  Yes
3.18      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $100,000.00
          Yui-Tin                                                           Contingent
          15 Johnson Road                                                   Unliquidated
          Carlisle, MA 01741                                                Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Capital loan
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No  Yes

Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                    related creditor (if any) listed?                account number, if
                                                                                                                                                     any
4.1       David C. McBride, Esq.
          19 Cherry Street                                                                          Line      3.15
          Danvers, MA 01923
                                                                                                          Not listed. Explain

4.2       IFES
          43 Sharon Street                                                                          Line      3.8
          Malden, MA 02148
                                                                                                          Not listed. Explain

4.3       John McNamara, Esq.
          Lane McNamara, LLP                                                                        Line      3.17
          Southborough, MA 01772
                                                                                                          Not listed. Explain

4.4       Joseph Kitteridge, Esq.
          Rafannelli Kittredge, PC                                                                  Line      3.3
          1 Keefe Road
          Boxborough, MA 01719                                                                            Not listed. Explain



Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                         Total of claim amounts
5a. Total claims from Part 1                                                                            5a.          $                          0.00
5b. Total claims from Part 2                                                                            5b.    +     $                  1,242,672.17

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                 5c.          $                     1,242,672.17




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 4 of 4
               Case 23-10545              Doc 54         Filed 05/17/23 Entered 05/17/23 12:44:30                                 Desc Main
                                                         Document      Page 21 of 36
Fill in this information to identify the case:

Debtor name        Sale, LLC

United States Bankruptcy Court for the:      DISTRICT OF MASSACHUSETTS

Case number (if known)      23-10545
                                                                                                                               Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.         State what the contract or           Commercial lease of
             lease is for and the nature of       unit in Naog Mall,
             the debtor's interest                Acton, MA
                                                  10 year term beginning
                                                  Oct. 2020.
                State the term remaining          7 years
                                                                                    KVA NAGOG, LLC
             List the contract number of any                                        396 Wellesley Street, #325
                   government contract                                              Wellesley Hills, MA 02481


2.2.         State what the contract or           Commercial lease at # 1
             lease is for and the nature of       Colonial Park Mall,
             the debtor's interest                Wilmington, MA.

                State the term remaining          End February 2027
                                                                                    William J Maouzis and George Kamouzis
             List the contract number of any                                        Trustees of Globe Realty Trust
                   government contract                                              Peabody, MA 01960




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
            Case 23-10545              Doc 54        Filed 05/17/23 Entered 05/17/23 12:44:30                             Desc Main
                                                     Document      Page 22 of 36
Fill in this information to identify the case:

Debtor name      Sale, LLC

United States Bankruptcy Court for the:   DISTRICT OF MASSACHUSETTS

Case number (if known)   23-10545
                                                                                                                          Check if this is an
                                                                                                                              amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

 No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 Yes
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                          Name                            Check all schedules
                                                                                                                               that apply:

   2.1    Abderrahim                  79 Lexington Street                                      Apex Funding Source             D       2.1
          Hmina                       Burlington, MA 01803                                     ,LLC                             E/F
                                                                                                                               G



   2.2    Abderrahim                  79 Lexington Street                                      Capital Assist                  D       2.2
          Hmina                       Burlington, MA 01803                                                                      E/F
                                                                                                                               G



   2.3    Abderrahim                  79 Lexington Street                                      Forward Financing,              D       2.4
          Hmina                       Burlington, MA 01803                                     LLC                              E/F
                                                                                                                               G



   2.4    Abderrahim                  79 Lexington Street                                      Uptown Fund, LLC                D       2.11
          Hmina                       Burlington, MA 01803                                                                      E/F
                                                                                                                               G



   2.5    Abdurrahim                  79 Lexington Street                                      Breakfast Club, LLC             D
          Hmina                       Burlington, MA 01803                                                                      E/F        3.3
                                                                                                                               G



Official Form 206H                                                    Schedule H: Your Codebtors                                            Page 1 of 2
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Debtor    Sale, LLC                                                               Case number (if known)   23-10545


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.6     Abdurrahim               79 Lexington Street                                 Fundkite                       D      2.5
          Hmina                    Burlington, MA 01803                                                                E/F
                                                                                                                      G



  2.7     Abdurrahim               79 Lexington Street                                 Fundonatic                     D      2.6
          Hmina                    Burlington, MA 01803                                                                E/F
                                                                                                                      G



  2.8     Abdurrahim               79 Lexington Street                                 Swift Funding                  D      2.8
          Hmina                    Burlington, MA 01803                                Source, Inc.                    E/F
                                                                                                                      G



  2.9     the Starbridge           67 South Bedford Street, Suite 400W                 Saleh Sinjab                   D
          Group, LLC               Burlington, MA 01803                                                                E/F    3.17
                                                                                                                      G



  2.10    Abdurrahim               79 Lexington Street                                 KVA NAGOG, LLC                 D
          Hmina                    Burlington, MA 01803                                                                E/F
                                                                                                                      G      2.1




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Fill in this information to identify the case:

Debtor name         Sale, LLC

United States Bankruptcy Court for the:    DISTRICT OF MASSACHUSETTS

Case number (if known)    23-10545
                                                                                                                               Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                              04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

      None.
      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                            Operating a business                                $924,517.00
      From 1/01/2023 to Filing Date                                                                Gross revenue from
                                                                                       Other      operations


      For prior year:                                                                  Operating a business                              $4,007,876.69
      From 1/01/2022 to 12/31/2022                                                                 Gross revenue from
                                                                                       Other      operations


      For year before that:                                                            Operating a business                              $3,127,052.00
      From 1/01/2021 to 12/31/2021                                                                 Gross revenue from
                                                                                       Other      operations

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      None.
                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      None.
      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply



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Debtor       Sale, LLC                                                                          Case number (if known) 23-10545



      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.1.
             Uptown Fund, LLC                                      15 individual                    $16,712.91            Secured debt
             211 Boulevard of the Americas                         payments                                               Unsecured loan repayments
             Lakewood, NJ 08701                                    between
                                                                                                                          Suppliers or vendors
                                                                   2/15/23 and
                                                                   2/9/23                                                 Services
                                                                                                                          Other

      3.2.
             Forward Financing, LLC                                62 individual                    $75,386.00            Secured debt
             53 State Street, 2oth Floor                           payments                                               Unsecured loan repayments
             Boston, MA 02109                                      between
                                                                                                                          Suppliers or vendors
                                                                   12/14/22 and
                                                                   3/27/23
                                                                                                                          Services
                                                                                                                          Other

      3.3.
             Fundkite                                              43 individual                    $41,307.00            Secured debt
             88 Pine Street 17th Floor                             payments                                               Unsecured loan repayments
             New York, NY 10005                                    between
                                                                                                                          Suppliers or vendors
                                                                   12/23/22 and
                                                                   2/24/23
                                                                                                                          Services
                                                                                                                          Other

      3.4.
             Swift Funding Source, Inc                             21 individual                    $29,834.00            Secured debt
             2474 McDonald Avenue                                  payments                                               Unsecured loan repayments
             Brooklyn, NY 11223                                    between
                                                                                                                          Suppliers or vendors
                                                                   1/30/23 and
                                                                   3/1/23
                                                                                                                          Services
                                                                                                                          Other

      3.5.
             Apex Funding Source                                   32 individual                    $29,696.00            Secured debt
             3050 Biscayne Blvd, Suite 503                         payments                                               Unsecured loan repayments
             Miami, FL 33137                                       between                                                Suppliers or vendors
                                                                   1/11/2023                                              Services
                                                                   and
                                                                                                                          Other
                                                                   2/24/2023


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

      None.
      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      None
      Creditor's name and address                      Describe of the Property                                        Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

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      None
      Creditor's name and address                     Description of the action creditor took                         Date action was             Amount
                                                                                                                      taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

      None.
             Case title                               Nature of case              Court or agency's name and                Status of case
             Case number                                                          address
      7.1.   A Breakfast Club, LLC v. Sale,           breach of contract                                                     Pending
             LLC                                                                  Middlesex Superior Court                   On appeal
             2381CV290                                                            200 Trade Center                           Concluded
                                                                                  Woburn, MA 01801

      7.2.   Saleh Sinjab v. Sale, LLC, et            Breach of contract          Middlesex Superior Court                   Pending
             al                                                                   200 Trade Center                           On appeal
             2281CV2810                                                           Woburn, MA 01801                           Concluded

      7.3.   Swift Funding Source, Inc. v.            breach of contract          Monroe County Supreme                      Pending
             Sale, LLC et al                                                      Court                                      On appeal
             E202303061282                                                        99 Exhcnage Blvd #545
                                                                                                                             Concluded
                                                                                  Rochester, NY 14614

      7.4.   Apex Funding Source, LLC v.              Breach of contract          Kings County Supreme                       Pending
             Sale, LLC, et al                                                     Court                                      On appeal
             506407/2023                                                          360 Adams Street
                                                                                                                             Concluded
                                                                                  Brooklyn, NY 11201

      7.5.   Capital Assist, LLC                      Breach of                   Kings County Supreme                       Pending
             506689/2023                              Contract                    Court                                      On appeal
                                                                                  360 Adams Street                           Concluded
                                                                                  Brooklyn, NY 11201

      7.6.   AFK, Inc. d/b/a Fundkite v.              Breach of                   New York County Supreme                    Pending
             Sale, LLC et al                          Contract                    Court                                      On appeal
             651349/2023                                                          60 Centre Street                           Concluded
                                                                                  New York, NY 10007

      7.7.   Por-shun, Inc. v. Sale, LLC et           Breach of contract          Woburn District Court                      Pending
             al                                                                   30 Pleasant Street                         On appeal
             2253CV000344                                                         Woburn, MA 01801                           Concluded

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      None

Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

      None
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              Recipient's name and address             Description of the gifts or contributions                 Dates given                           Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      None
      Description of the property lost and             Amount of payments received for the loss                  Dates of loss            Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

      None.
               Who was paid or who received              If not money, describe any property transferred               Dates                Total amount or
               the transfer?                                                                                                                         value
               Address
      11.1.                                                                                                            4/3/23,
               Lipton Law Group                                                                                        4/10/23,
               945 Concord Street                                                                                      4/17/23,
               Framingham, MA 01701                                                                                    4/24/23                  $10,000.00

               Email or website address
               marques@liptonlg.com

               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      None.
      Name of trust or device                            Describe any property transferred                    Dates transfers               Total amount or
                                                                                                              were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      None.
              Who received transfer?                   Description of property transferred or                    Date transfer              Total amount or
              Address                                  payments received or debts paid in exchange               was made                            value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.



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      Does not apply
               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

          No. Go to Part 9.
      Yes. Fill in the information below.

               Facility name and address                Nature of the business operation, including type of services                If debtor provides meals
                                                        the debtor provides                                                         and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

          No.
      Yes. State the nature of the information collected and retained.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

          No. Go to Part 10.
      Yes. Does the debtor serve as plan administrator?

Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

      None
               Financial Institution name and           Last 4 digits of           Type of account or          Date account was                  Last balance
               Address                                  account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


      None
      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.




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      None
      Facility name and address                             Names of anyone with                  Description of the contents                   Does debtor
                                                            access to it                                                                        still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

          No.
      Yes. Provide details below.
      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

          No.
      Yes. Provide details below.
      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

          No.
      Yes. Provide details below.
      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

      None
   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

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26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26a.1.        Dawn M. Kay                                                                                                     -2021
                    P.O. Box 370
                    Tyngsboro, MA 01879

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

          No
      Yes. Give the details about the two most recent inventories.
               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Abdul Hmina                             79 Lexington Street                                 Manager                                   50%
                                              Burlington, MA 01803

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Nabila Hmina                            79 Lexington Street                                 Manager                                   50%
                                              Burlington, MA 01803



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


          No
      Yes. Identify below.

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

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      No
          Yes. Identify below.

             Name and address of recipient             Amount of money or description and value of               Dates             Reason for
                                                       property                                                                    providing the value
      30.1 Nbila Hmina                                                                                           Weekly
      .    79 Lexington Street                         Full time management duties operating                     payroll of
             Burlington, MA 01803                      three restaurans                                          $3,000            Regular salary

             Relationship to debtor
             Co-Manager


      30.2                                                                                                       Jan, Feb,
      .    Abdurrahim Hmina                                                                                      March, April
             79 Lexington Street                                                                                 2023 ($5,454      Compensatoin for
             Burlington, MA 01803                      $21,816                                                   each)             services.

             Relationship to debtor
             Co-Manager


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

          No
      Yes. Identify below.
   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

          No
      Yes. Identify below.
   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         May 17, 2023

/s/ Abderrahim Hmina                                            Abderrahim Hmina
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor    President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




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                                               United States Bankruptcy Court
                                                        District of Massachusetts
 In re   Sale, LLC                                                                                Case No.     23-10545
                                                                     Debtor(s)                    Chapter      11




                        VERIFICATION OF CREDITOR MATRIX - AMENDED


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




Date:     May 17, 2023                                   /s/ Abderrahim Hmina
                                                         Abderrahim Hmina/President
                                                         Signer/Title
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                       Abdurrahim Hmina
                       79 Lexington Street
                       Burlington, MA 01803

                       Apex Funding Source ,LLC
                       3050 Biscayne blvd, suite 503
                       Miami, FL 33137

                       Arrow Paper
                       228 Andover Street
                       Wilmington, MA 01887

                       Bank of America
                       100 North Tryon Street
                       Charlotte, NC 28255

                       Breakfast Club, LLC
                       77 Sadler Farm Lane
                       Boxborough, MA 01719

                       Capital Asisst, LLC
                       243 Tesser Blvd 17th Floor
                       Stamford, CT 06901

                       Capital Assist
                       244 5th Avenue, Suite P297
                       New York, NY 10001

                       Capital Assist, LLC
                       343 Sunny Idles Blvd.,Suite 503
                       Miami Beach, FL 33154

                       CJF Excavation
                       9 Goldsmith Street
                       Littleton, MA 01460

                       David C. McBride, Esq.
                       19 Cherry Street
                       Danvers, MA 01923

                       Eversource
                       P.O. Box 56007
                       Boston, MA 02205

                       Ford Motor Credit
                       Omaha Service Center
                       P.O. Box 542000
                       Omaha, NE 68154

                       Forward Financing, LLC
                        53 State Street, 20th Floor
                       Boston, MA 02109
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                   Fundkite
                   88 Pine Street
                   17th Floor
                   New York, NY 10005

                   Fundonatic
                   20200 W. Dixie Highway, Suite 908
                   Miami, FL 33180

                   George's Bakery
                   25 Hall Street
                   Boston, MA 02115

                   H&N
                   c/o Heather McKay
                   100 Great Plain Avenue
                   Needham, MA 02492

                   IFES
                   43 Sharon Street
                   Malden, MA 02148

                   Internal Revenue Service
                   P.O. Box 7346
                   Philadelphia, PA 19101

                   Interstate Food Equipment
                   Cohn & Dussi, LLC
                   68 Harrison Avenue, Suite 502
                   Boston, MA 02111

                   Issac H. Greenfield, Esq.
                   2 Executive Blvd, Suite 305
                   Suffern, NY 10901

                   Jacob Verstanding, esq.
                   Erhowsky Verstanding PLLC
                   290 Central Avenue, Suite 109
                   Lawrence, NY 11559

                   John McNamara, Esq.
                   Lane McNamara, LLP
                   Southborough, MA 01772

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